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                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF OKLAHOMA


IN RE:
                                                          Case No.: BK-18-13787-JDL
WILMA JEANNE MORRIS,                                      Chapter 13

       DEBTOR.


APPLICATION TO TREAT MARCH 12 2019 HEARING AS PRELIMINARY HEARING

       Comes now the secured creditor, QUICKEN LOANS INC., by their attorney, Matthew J.

Hudspeth, and makes Application with the Court to treat the hearing scheduled for March 12, 2019

on Debtor’s Motion for Determination of Fees, Expenses, or Charges Pursuant to Rule 3002.1(E)

filed by the Debtor on February 1, 2019 (Doc 18) as a preliminary hearing. In support hereof,

Creditor alleges and states as follows:

       1.      Debtor filed this Bankruptcy action on September 6, 2018 (Doc 1).

       2.      Creditor filed its Proof of Claim No. 8 on October 1, 2018.

       3.      Creditor filed its Notice of Postpetition Mortgage Fees, Expenses and Charges on

               November 1, 2018.

       4.      Debtor filed her Motion for Determination of Fees, Expenses, or Charges Pursuant

               to Rule 3002.1(E) on February 1, 2019 (Doc 18).

       5.      Creditor filed its Response to Motion for Determination of Fees, Expenses, or

               Charges Pursuant to Rule 3002.1(E) on February 12, 2019 (Doc 20).

       6.      Debtor filed her Reply to Creditor’s Response to Motion for Determination of Fees,

               Expenses, or Charges Pursuant to Rule 3002.1(E) on February 14, 2019 (Doc 22).

       7.      Debtor filed her Notice of Witnesses/Exhibit List on February 14, 2019 (Doc 21).

       8.      Creditor filed its Preliminary Witness and Exhibit List on February 21, 2019 (Doc
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      23).

9.    Debtor filed her Motion in Limine on February 22, 2019 (Doc 24).

10.   Creditor filed its Amended Witness and Exhibit List on February 25, 2019 (Doc 26).

11.   Debtor’s and Creditor’s various pleadings (Docs 18, 20, 22 and 24 along with

      Creditor’s Response to Doc 24 to be filed contemporaneously herewith) are

      scheduled for hearing on March 12, 2019 at 9:45 a.m.

12.   Creditor is informed and believes that there are several other cases involving various

      Debtors but the same Debtor’s counsel, identical (or strikingly similar)

      pleadings/claims and various Creditors’ counsel.

13.   In light of the above and foregoing, and pursuant to Local Rule 9014, the Court may

      schedule a pre-hearing conference and direct any rules governing adversary

      proceedings to be applied to the matter.

14.   At the least, and in the interest of judicial economy, Creditor suggests the Court hear

      the Motion in Limine (Doc 24 along with Creditor’s Response thereto to be filed

      contemporaneously herewith) on March 12, 2019 at 9:45 a.m., treat as a preliminary

      hearing the hearing on the following:

      a.      Motion for Determination of Fees, Expenses, or Charges Pursuant to Rule

           3002.1(E) (Doc 18);

      b.      Response to Motion for Determination of Fees, Expenses, or Charges

           Pursuant to Rule 3002.1(E) (Doc 20);

      c.      Reply to Creditor’s Response to Motion for Determination of Fees,

           Expenses, or Charges Pursuant to Rule 3002.1(E) (Doc 22), and

15.   As this is a contested matter as contemplated by Local Rule 9014, pursuant to Local

      Rule 7016(A) the Court should set a scheduling conference for a date and time
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               certain for items a through f above, along with the other cases involving various

               other Debtors but the same Debtor’s counsel, identical (or strikingly similar)

               pleadings/claims and various other Creditors’ counsel.

       16.     At the scheduling conference the Court should enter such Orders as necessary to

               implement the requirements of Local Rule 7016(C).

       17.     Debtor’s counsel has been contacted regarding the request to treat as a preliminary

               hearing and Debtor’s counsel objects to the request.

       WHEREFORE, PREMISES CONSIDERED, QUICKEN LOANS INC. prays this Court

treat the March 12, 2019 hearing as a preliminary hearing, set a scheduling conference and for such

other and further relief as this Court deems appropriate.




                                                       QUICKEN LOANS INC.

                                      By:          s/ Matthew J. Hudspeth
                                                   MATTHEW J. HUDSPETH - #14613
                                                   JIM TIMBERLAKE - #14945
                                                   Baer Timberlake, P.C.
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                                                   Fax: (918) 794-2768
                                                   mhudspeth@baer-timberlake.com
                                                   Attorney for Creditor

                                  CERTIFICATE OF SERVICE

       I hereby certify that I mailed a true and correct copy of the above and foregoing Application
with postage thereon fully prepaid to the parties listed below on February 27, 2019.

Wilma Jeanne Morris
605 S Lakehoma Dr.
Mustang, OK 73064
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        The following persons should have received notice of the above and foregoing instrument
on the same day it was filed by the Court’s CM/ECF Electronic Noticing System.

John T. Hardeman
P.O. Box 1948
Oklahoma City, OK 73101

Jason A. Sansone
4600 SE 29th St
Del City, OK 73115


                                   By:         s/ Matthew J. Hudspeth
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                                               JIM TIMBERLAKE - #14945
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